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     C. M. H., Petitioner:  v.  V. M. and The People of the State of Colorado, Respondents:  In the Interest of Minor Children: Es.M.G., Ez.M.G., V.E.M., and Vi.M. No. 24SC654Supreme Court of Colorado, En BancNovember 18, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA2103
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    